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                                                                        FILED IN THE
                                                               UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII
                                                                07 Sept. 2021 3:48 PM lrs
                                                                Michelle Rynne, Clerk of Court




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                              UNITED STATES DISTRICT COURT

                                    DISTRICT OF HAWAII

                                              DOCKET NO.: Civil 21-00351-JMS-
                                              KJM
   Samuel Pierce,
                                              CIVIL ACTION
                Plaintiffs,
                                              SECOND AMENDED
         v.                                   COMPLAINT
   Clare Connors, in her official capacity,
   David Ige, in his official capacity,
   State of Hawaii (People of)
                Defendants.




                               SECOND AMENDED COMPLAINT
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                           SECOND AMENDED COMPLAINT
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   Plaintiffs Samuel Pierce, alleges the following:
         1.     I brought this good faith effort to protect the most fundamental
   constitutional right of citizens of a nation to cross the national border without state
   interference. I was extremely cordial with the State and wanted to have an honest
   policy debate even though Hawaii’s border restrictions in Japan are open rebellion.
   Instead of any dialogue the State began one of the scariest intimidation campaigns
   ever seen in the world. It searched to find out that I am licensed as a lawyer in
   Maine and with a federal agency (the USPTO) and threatened attorney discipline
   to deter me from bringing the case. Then its agents misused state investigative
   resources and misrepresented in Japanese to my employer a dismissed record of a
   wrongful arrest along with past civil rights cases I have brought to redress other
   indifference towards any of my rights. As a result my reputation in my dream job
   is ruined. Because they clearly do not understand U.S. law in Japan there is no
   way to repair the damage.
         2.     Of course this sort of defense is one of a murderous thug and not a
   real public official. And I found out why. I recently confirmed that Hawaii’s
   COVID testing facilities in Japan pay kickbacks to those associated with state
   government. Hawaii forces all travelers to go to a small number of clinics with
   kickback arrangements - a few needles in the haystack of Japanese medical
   facilities. Then travelers to Hawaii have to pay large additional fees above what
   travelers to the USA gave to pay in order to fund the kickbacks the clinics pay the
   governor’s agents for pieces of paper with Hawaii printed at the top.
         3.     The Court could not fix this and I would be tempted as Governor not
   to do the extremely hard work of ending this scheme in a foreign country with all
   of the complex actions that entails.   The law and language is so different in Japan
   that Japanese authorities can provide no useful assistance. I would be tempted to



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   let those who are benefiting from this scheme continue in order to ease the
   transition and I would do everything lawful to ease the transition by among other
   things pursuing to the maximum extent the best interests of David Ige the person
   now that he has made himself one of the people I am legally charged to look out
   for.   But I would add ending the kickback scheme with the clinics in Japan to my
   many other urgent responsibilities. Since I effectively lost my other job as a
   result of this horrible smear campaign, I will bring my substantial abilities to the
   office of the Hawaii governor the likes of which have frankly never been seen
   before in government to engage the state legislature, use them to figure out what
   the people want, and then deliver it for them.
          4.    To whatever doubt there is any extent this is the right remedy I
   respectfully request the court on its own motion immediately bring a writ of
   certiorari with the U.S. Supreme Court before Justice Neil Gorsuch in chambers.
   There is a lawful right for me to bring that writ to a particular justice but the clerk’s
   procedures only allow it in aid of state abuse of people, not the other way around.
   Uncertainty in who is holding the office of the Hawaii governor cannot be tolerated
   another day with all the risks to my life and all lives from the complete breakdown
   of the rule of law in Hawaii which I am equipped to restore pronto. No decent
   human being could decide to waste my money and time on further proceedings and
   appeals until the governor’s term ends then leave me with nothing.
          5.    The people of the United States forgot what a state is. A state means
   there is unrestricted travel and trade within the United States. When the public is
   informed what a state is and what it is sovereign for within the boundaries,
   certainly I think the Hawaii governor will have a chance to show how incredibly
   wealthy the people of Hawaii and the United States would be if the country adds
   back Hawaii to the state column and I also believe there should be serious



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   discussions about adding more of these free travel and trade zones for example in
   England and Isreal.
         6.     Only if Justice Gorsuch decides not to properly handle one document
   filed in federal court one time and restore law to the land, then I should be able to
   present my case to the Hawaii legislature. But any kind of appointment for me
   through the political process would waste the first few months of my term as I
   would be the only person in Hawaii who might be capable of sorting out all the
   impacts on rights and responsibilities that would entail. The merciful thing here
   for all involved is to immediately grant judgment for me on this pleading.
         7.     I brought this action because the David Ige and Clare Connors, with
   the complicity of the people of the State of Hawaii, took advantage of the complete
   vacuum in power at the top of the Executive Branch of the Federal Government to
   go behind the back of the United States to impose restrictions in a foreign land and
   interfere with the right of a Citizen of the United States to cross the national border.
   There are no issues of fact about this and though there are some relevant questions
   of fact like how much exactly David Ige is misrepresenting the medical capacity
   available to the People of the State of Hawaii they do not need to be determined.
         8.     From the beginning of my dealing with the Hawaii Attorney General’s
   Office (since she is responsible, all references to the Hawaii Attorney General’s
   Office will from this point forward in the document will be to Clare Connors;
   exercises of executive authority will refer to David Ige). I just wanted to travel to
   Hawaii without being blocked from doing so by the State in the foreign country of
   Japan. All I asked for was an exemption from Ige’s brutal “quarantine” order–
   not even a policy change. The exact same exemption had just been granted days
   ago by the Connors when I traveled to Hawaii from California. That exemption
   has still not been offered. At that point I had to choose between giving up my



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   most fundamental right as a citizen of the United States and pursuing some form of
   redress.
         9.     Every legal right protectible in federal court has a remedy. The
   remedy must be proportional to the violation and adequate to redress it, and only
   go that far. This is the exceedingly rare case – in fact, singularly rare – that this
   principle bends slightly as shall be explained. But even then the equitable
   principle of a substitute remedy is bound by equity and I had no right to the relief I
   now do at the time of filing the suit. I thought it would be appropriate for the
   Court to order Ige and Connors to cease operating the Safe Travels system with
   respect to international arrivals; because a great amount of time, effort, and money
   is needed to pursue this relief in federal court some additional award must also be
   made if I am to have any measure of justice and I would have been happy with
   Five Thousand Dollars. But the events which have transpired since filing the
   original complaint demonstrate that this would no longer be justice – indeed, no
   amount of money and no lawful order of the Court except for one could suffice.
   And unless the reason for this is carefully explained in the most painstaking detail
   as I shall now do the mere idea that the Court could even possibly grant this relief
   does seem outlandish.    But even if it is accepted that the judicial power of the
   United States is the most powerful thing on Earth, I now also understand that I
   must try to use my power of persuasion to summon political support and I believe
   there would be near unanimous political support if the case is allowed to see the
   light of day. But first among other arguments I must carefully explain Marbury v.
   Madison which few understand and also nearly every basic principle of federalism
   as it was brilliantly designed in the United States Constitution plus many
   substantive principles of property law among others.
         10.    It is not beyond the judicial power of the United States to restore the



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   Constitution of the United States and it is apparent from at least the Supreme Court
   of the United States decision regarding 86 Fed. Reg. 43244 (2021) that all rule of
   law has broken down in the United States. I in good faith believe that five
   justices of the Supreme Court of the United States wish to restore rule of law and
   would grant the relief that will be requested herein. However while I believe
   there must be better procedures in the U.S. Courts I accept that there can be
   reasonable restraints that dictate the necessity of following existing rules and as far
   as this complaint for the relief requested herein I think it actually is prudent to
   require compliance with every letter; all of these principles will be carefully
   explained herein. I may not simply call the U.S. Supreme Court and demand to
   be heard orally by all justices immediately, instead I must earn it.
         11.    The Constitution as adopted in 1787 did not provide any remedy for
   Citizens of the United States against any of the States. The States themselves
   continue to be immune from suit in federal court because they are merely
   geographic boundaries on the map and anyone who sues a State in federal court
   does not understand the law except in this same exceedingly rare circumstance
   where the People of the State of Hawaii have engaged in an open rebellion against
   the United States and a remedy must be had against them all. State officials on
   the other hand may be sued either in their personal capacity, which allows only for
   money damages, or in their official capacity, which allows only for equitable relief.
         12.    Though the civil war amendments and federal statutes such as 42 USC
   1983 in theory provide a remedy against action by State officials they do not in
   practice as this case makes clear. This is actually why Citizens of the United
   States (as well as Citizens of various States who are not Citizens of the United
   States) have become so enraged at issues like police violence. Among other
   reasons, the Constitution requires that pro se parties be treated fairly and equally; it



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   is only in recent times that courts have established so many formal and informal
   rules which do incredible injustice to this principle and assume every pro se case is
   completely not worth review.
         13.       I do not argue that federal courts may impose no rules. I am only
   arguing that any rules must respect the principles embodied in the U.S. Constitution,
   for example the First Amendment. That means the Courts must allow some
   reasonable right of access in every situation, not any particular rule. In this case
   where I am in view of the law trapped in a foreign country without ability to return to
   my home country, a requirement imposed by the Court that any papers seeking relief
   must be copied and delivered to the courthouse obviously conflicts with the U.S.
   Constitution.
         14.       There is a hierarchy of federal rules of law ranging from the Federal
   Constitution – strongest and inviolable – to Federal Law (quite strong if used actually
   for what it says) and then inferior sources of rights and responsibilities like Federal
   Regulation, Federal Rules of Civil Procedure, and perhaps at the bottom a local rule
   of a Federal Court. A similar hierarchy exists with state sources of law, but each
   and every state source of law like a State constitution is inferior to even the most
   minor federal source of law like a local rule of a Court. In taking any action, a
   citizen must carefully consider all the various conflicts which existed conceptionally
   from the beginning but have become overwhelmingly difficult to untangle in view of
   how little each source is understood itself and in relation to the others by all members
   of government in the United States as it currently sits.
         15.       Many sources of law impose obligations on all citizens; others allow all
   citizens to do things. But many other laws only apply to particular citizens like the
   President of the United States, state governors, and the like. The sheer array of laws
   so many of which conflict has become overwhelming. Particularly for governors



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   whose staff often have limited abilities, untangling the mess is near impossible.
   Governors (like Presidents) have an extremely difficult job and any remedy against
   them should recognize this – in general, remedies which are harsh on particular
   people like imprisonment should be avoided for political leaders.
         16.    But Hawaii’s governments have basically failed no matter how much
   federal authorities try to prop it up by allowing rampant criminal activity. In theory
   federal authorities could arrest and send people to prison with long sentences to deter
   such conduct, and they have tried. But it does not work and only makes the
   situation in Hawaii worse as people are further discouraged from government service.
   Hopefully it is starting to become more clear that a remedy which rather imprisoning
   much of government in the state instead thanks and excuses the leader does much
   more to promote good government which is the principle underlying the
   imprisonment in all but cases where persons have been physically injured.
         17.    What David Ige has done to the People of the State of Hawaii is horrible
   beyond all imagination; among other things the misery visited on persons from Japan
   who came to the United States has been repeated in perhaps an even more brutal
   fashion than with respect to Fred Korematsu. And the opportunity David Ige saw at
   the end of the summer tourist season in Hawaii to mislead and maintain restrictions
   like effectively banning all forms of political activity like meeting in a group of 11
   for no real public health benefit (Zoom is laughable as a substitute) should make
   clear David Ige has been no kinder to the people within Hawaii than to people in
   Japan trying to get there. There is a reason David Ige does not want anyone to get
   together or come to Hawaii; to protect the massive corruption in State government
   from discovery. The quarantine and lockdown orders in U.S. States have been from
   the beginning utterly preposterous that at least they conflict with thousands of federal
   laws which allow citizens to do things not to mention more fundamentally the U.S.



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  Constitution. There was little reason from the beginning to think that the Sars-Cov-
  2 virus would be any different from the H1N1/09 virus which led authorities across
  the United States to briefly consider in 2009 measures such as temporarily closing
  schools but ultimately decide against them. And indeed it has not been much
  different.
           18.   After bringing the case, the Plaintiff made an application with the Court
  to waive the courtesy copy rule. It is true that Plaintiff was trying to make the Court
  understand that the Court’s local rule conflicts with David Ige’s emergency order,
  and the Court’s indication that it carefully considered the application gave Plaintiff
  some hope the point was made. First of all, it is highly doubtful that any document
  filed with a clerk in federal court could be an improper ex parte communication as
  state bar authorities understand it because any document filed with a clerk in federal
  court is public record unless a very good reason exists and improper ex parte
  communications only basically cover secret conversations. But second of all, there
  is nothing wrong with trying to defend the rule of law as Plaintiff is doing and make
  the courts understand it. If the courtesy copy rule were not waived, there would be
  no way to properly make a motion to waive it. Hopefully the more fundamental
  point that Ige’s emergency orders conflict not only with this Court’s local rule
  requiring parties to make courtesy copies but also the Constitution is now becoming
  clear.
           19.   David Ige and Clare Connors were able to see the document plaintiff
  filed regarding courtesy copies because the court made it available to the public and
  it was only technically ex parte because Ige and Connors have not showed up to
  appear in this action. But they became enraged because they knew there might be a
  real challenge to them. When a State is involved in a lawsuit, the win at all costs
  principle does not apply; instead, a principle which is the precise opposite does apply.



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  The State must make every effort to compensate if there is a reasonable basis rather
  than endlessly frustrate that right. That means a State must only respond to the
  claims at issue and not make the suit about unrelated matters by digging into a
  plaintiff’s personal life.
         20.    Instead of understanding or paying the principle any respect, Ige and
  Connors did as much violence to the principle as they could. Ige and Connors
  searched through the frightening array of information available some public and
  maybe misused some private ones including the Safe Travels data which is the single
  greatest affront to the people of the United States by a single State since the civil war.
         21.    Extortionate bar complaints are a huge problem in the legal system and
  supposedly this is a priority for federal law enforcement. But when private parties
  do it prosecution is rarely appropriate; rather, it is generally better for society if
  lawyers bear the cost though huge of these unnecessary complaints. It is not an act
  of violence for a private party to do it; it only threatens financial and reputational
  harm. However, where Ige and Connors misuse the resources of a State to engage
  in the most insane extortionate bar complaint in U.S. history the Plaintiff is put in
  fear of his life because the power of a State is so great. Plaintiff brought a
  temporary restraining order application to order Ige and Connors to stop engaging in
  the most despicable acts of digging up information about him to extort him. The
  court may have properly denied it as not asking for a specific relief but should not
  and maybe did not allow Ige and Connors to continue abusing citizens constitutional
  rights with no supervision.
         22.    The Plaintiff realized that he became entitled to a piece of Ige’s property
  - that is, his gubernatorial term because the remedy must be proportionate to the right
  and no other remedy could suffice. This is so obviously fair to everyone involved
  because it seems highly unlikely that Ige would prefer to remain in a position he



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  cannot successfully execute rather than be replaced with a competent person who
  would ensure Ige gets his due – because he is not a bad man at all but just unaware of
  how to execute the laws of Hawaii faithfully Ige should be very well paid for life in
  view of how much good he can do by stepping aside in favor of the Plaintiff.
  Further, equitable principles allow the insult to the People of Hawaii’s right to
  democratic self determination where they have rebelled against the United States and
  established their own territory for all practical purposes. That is because the People
  of Hawaii must learn good government now. They must allow the Plaintiff to
  properly lead them. It is unlikely the result would really conflict with the principle
  of democratic self-governance by the State Legislature because it seems more likely
  the State Legislature would also want the Plaintiff to come in as a competent
  governor and ensure the State Legislature starts to be paid fairly for its service. But
  if necessary, because the remedy is the single greatest remedy at least since Marbury
  v. Madison – and Plaintiff does not deny this – all People in the State of Hawaii will
  get the message. Thus, further investigation and prosecution of all acts of
  corruption in the past will no longer be in the public interest. That is only one of the
  reasons the Plaintiff’s proposed remedy is proper.
        23.    This Court has absolutely zero power in Japan and cannot guarantee
  that Japan will ever allow citizens of the United States to travel to Hawaii without
  meeting the requirements that would effectively became Japanese requirements
  and serve only to enrich some medical facilities in Japan with no other real purpose.
  How does the Court remedy this awful situation and the fact that Hawaii has
  spread the worst poison to the world? There is only one way, to leave it to the
  discretion of the Plaintiff with all of the rights and responsibilities of David Ige’s
  gubanatorial term.
        24.    These are the facts; the Plaintiff will provide further briefing as



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  appropriate on matters of law. Our Constitution assures plaintiff the remedy he is
  requesting because it demands due process which was not so, so, so much when
  the compliant was filed but is now quite a lot of process.    This is not written in an
  easy to understand paragraph anywhere but is a fact in view of equitable principles
  and the puzzle that is the Constitution providing for government in the United
  States without respect to particular persons (for example, if all federal offices
  become vacant, U.S. district judges can declare who are the lawful occupants).
        25.    This Court simply cannot allow state authorities to chill all opposition
  to its policies with the heinous acts of violence described herein.
                              I.   CLAIMS FOR RELIEF

                         FIRST CLAIM FOR RELIEF
   Preemption Under Federal Law and Violation of the Most Fundamental Right of a
                                  U.S. Citizen

        26.    Plaintiffs incorporate by reference as if fully set forth herein the
  allegations contained in paragraphs 1 through 18, above.
        27.    David Ige, Clare Connors, and all People of the State of Hawaii have
  engaged in a rebellion which has resulted in retaliation for no good reason
  consisting of actual imprisonment of U.S. citizens in Japan, among many other
  harms to foreign relations.
                      INJUNCTIVE RELIEF ALLEGATIONS

        28.    No plain, adequate, or complete remedy at law is available to
  Plaintiffs to redress the wrongs addressed herein.
        29.    If this Court does not grant the injunctive relief sought herein,
  Plaintiffs will be irreparably harmed.
                                PRAYER FOR RELIEF
  WHEREFORE, Plaintiffs pray for relief as follows:



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        1.    For a declaration that Samuel Pierce is the lawful holder of property
  formerly belonging to David Ige, to wit, the present gubernatorial term.
        2.    For an order enjoining all People of the State of Hawaii to follow all
  lawful orders of the lawful governor;
        3.    For such other and further relief as this Court deems just and proper.




   Dated: September 8, 2021                    Respectfully submitted,
                                               /Samuel Pierce/




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